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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

NORMAN NGUYEN,

              Plaintiff,                                   Case No. 1:07-cv-39

v.                                                         Hon. Richard Alan Enslen

ROBERT LARION, et al.,

              Defendants.
                                  /

                           ORDER AND JUDGMENT
                   APPROVING REPORT AND RECOMMENDATION

        The court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties.

No objections have been filed pursuant to 28 U.S.C. § 636(b)(1)(C).

        THEREFORE, IT IS ORDERED that the Report and Recommendation of the Magistrate

Judge, filed May 22, 2007, is approved and adopted as the opinion of the court.

        IT IS FURTHER ORDERED that plaintiff's complaint is DISMISSED for the reasons

stated in the Report and Recommendation.



Dated in Kalamazoo, MI:                               /s/Richard Alan Enslen
June 25, 2007                                        Richard Alan Enslen
                                                     Senior United States District Judge
